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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  WHEELING


UNITED STATES OF AMERICA, ex rel.                     )
LOUIS LONGO,                                          )      CIVIL ACTION NO. 5:19-CV-192
                                                      )      (JUDGE BAILEY)
                       Plaintiff,                     )
                                                      )
       v.                                             )
                                                      )
WHEELING HOSPITAL, INC.,                              )
R & V ASSOCIATES, LTD., and                           )
RONALD L. VIOLI,                                      )
                                                      )
                       Defendants.                    )

                                STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41, the parties to this action, through their undersigned

counsel, hereby stipulate to the dismissal of this action pursuant to the terms and conditions of

the Settlement Agreement that the United States, Wheeling Hospital, Inc., and Relator Louis

Longo entered into effective September 8, 2020. Consistent with the terms of the Settlement

Agreement, (1) Relator dismisses all claims in this action with prejudice, and (2) the United

States dismisses all claims in this action with prejudice as to Wheeling Hospital, Inc. and without

prejudice as to R&V Associates, Ltd. and Ronald Violi.
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Dated: September 10, 2020                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2020, I electronically filed the foregoing

Stipulation of Dismissal using the Court’s CM/ECF system, which will send a notice of filing to

all counsel of record.



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